             18-36920-cgm             Doc 1        Filed 11/15/18           Entered 11/15/18 15:55:57                   Main Document 11/15/18 3:54PM
                                                                           Pg 1 of 11
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                FAMP sp Z.O.O.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  UI. 1000 lecia PP 10/64
                                  Poland                                                          4 Stanley Way
                                  Bialystok 15-111 15111                                          Campbell Hall, NY 10916
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Poland                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       bebe.com.pl


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                              Pg 2 of 11   Case number (if known)
          FAMP sp Z.O.O.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5632

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor
                                                                           Pg 3 of 11   Case number (if known)
         FAMP sp Z.O.O.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                                          Pg 4 of 11   Case number (if known)
          FAMP sp Z.O.O.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 15, 2018
                                                  MM / DD / YYYY


                             X   /s/ Wieslaw Piasecki                                                    Wieslaw Piasecki
                                 Signature of authorized representative of debtor                        Printed name

                                 Title    President




18. Signature of attorney    X   /s/ Raymond P. Raiche                                                    Date November 15, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Raymond P. Raiche
                                 Printed name

                                 Blustein, Shapiro, Rich, & Barone, LLP
                                 Firm name

                                 10 Matthews Street
                                 Goshen, NY 10924
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     845-291-0011                  Email address      rraiche@mid-hudsonlaw.com

                                 RR1596 NY
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:
 Debtor name FAMP sp Z.O.O.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 4GLASS ARTUR                                                    Glass Walls                                                                                                $3,868.42
 STREKOWSKI
 WIOLETTA, BEMA
 11
 15-169 Bialystok
 Poland
 4media creations                                                Marketing                                                                                                    $971.05
 anna powieza
 PODLESNA 11
 07-130 KAMIONNA
 Poland
 ATIS DOM Wojciech                                               Mokotow Gallery                                                                                          $48,161.68
 Jurczuk                                                         Expenses
 SKLADOWA 11/28
 15-399 BIALYSTOK
 Poland
 BB Brand Holdings,                                              Distribution                                                                                             $81,000.00
 LLC                                                             Agreement
 240 Madison                                                     Arrears
 Avenue
 15th Floor
 New York, NY 10016
 BEBE STUDIO                                                     Stuff/ Commodity                                                                                         $52,688.69
 One West 34th
 Street
 New York, NY 10001
 BMS Daniel Jokiel                                               Air Conditioning                                                                                           $8,871.60
 Byslawska, 04-944                                               in Mokotow
 Warszawa                                                        Gallery
 Poland
 CRYSTAL WARSAW                                                  Rent                                                                                                   $135,050.68
 SP. Z O.O.
 Woloska 12
 02-675 Warszawa
 Poland




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    FAMP sp Z.O.O.                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Global Brands                                                   Merchandise/Goo                                                                                          $34,000.00
 Group                                                           ds
 350 5th Avenue
 10 Floor
 New York, NY 10118
 GLOBART MEDIA A.                                                Billboards                                                                                                 $2,236.47
 GOLEBICKI,
 M. HORBA,T. LASKI
 SP.J.
 CIOLKOWSKIEGO
 88F
 15-545 BIALYSTOK,
 POLAND
 JUMP DESIGN                                                     Merchandise/Goo                                                                                          $28,000.00
 GROUP                                                           ds
 1400 Broadway
 2nd Floor
 New York, NY 10018
 JUMP DESIGN                                                     Stuff/ Commodity                                                                                         $17,016.72
 GROUP
 1400 Broadway
 2nd Floor
 New York, NY 10018
 MEGA-AMPER                                                      CAMERAS,                                                                                                   $6,023.68
 Mateusz Tomaszuk                                                COMPUTER
 GAJOWA 77/9                                                     NETWORK,
 15-794 Bialystok                                                CHOROSZCZ
 Poland
 PKO LEASING                                                     Rent/energy at                                                                                             $3,451.68
 Smiglego Rydza 20                                               Poznan Gallery
 93-281 Lodz
 Poland
 POLENERGIA                                                      Energy in                                                                                                  $1,630.27
 DYSTRYBUCJA                                                     Mokotow Gallery
 SP.Z O.
 KRUCZA 24/26,
 05-077 WARSZAWA
 Poland
 PROPOL sp Z.O.O.                                                building expenses                                                                                        $20,185.80
 ul Warszawska 27
 16-070 Choroszcz
 Poland
 RENOMA GALLERY                                                  rent & heating                                                                                           $26,797.73
 SWIDNICKA 40,                                                   expenses
 50-024 WROCLAW
 Poland
 SEKA SPÓLKA                                                     Poland's required                                                                                          $1,320.63
 AKCYJNA, Bialystok                                              work place safty
 Sw. Rocha 11,                                                   couse
 15-879 Bilystok
 Poland



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    FAMP sp Z.O.O.                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 STARY BROWAR                                                    Poznan Gallery                                                                                           $21,802.70
 GALLERY                                                         Expenses
 PÓLWIEJSKA 42,
 POZNAN
 Poland
 VEOLIA INDUSTRY                                                 Installation,                                                                                              $8,837.87
 POLSKA SP. Z O                                                  Mokotow Gallery
 ENERGETYCZNA
 7A, 61-017 POZNAN
 Poland
 Weronika Bielik                                                 Marketing:                                                                                                 $9,710.53
 ZEROMSKIEGO                                                     Celebrity
 1/423                                                           Promotion
 01-887 WARSZAWA
 Poland




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                           4GLASS ARTUR STREKOWSKI
                           WIOLETTA, BEMA 11
                           15-169 BIALYSTOK
                           POLAND


                           4MEDIA CREATIONS ANNA POWIEZA
                           PODLESNA 11
                           07-130 KAMIONNA
                           POLAND


                           ATIS DOM WOJCIECH JURCZUK
                           SKLADOWA 11/28
                           15-399 BIALYSTOK
                           POLAND


                           BB BRAND HOLDINGS, LLC
                           240 MADISON AVENUE
                           15TH FLOOR
                           NEW YORK, NY 10016


                           BEBE STUDIO
                           ONE WEST 34TH STREET
                           NEW YORK, NY 10001


                           BMS DANIEL JOKIEL
                           BYSLAWSKA, 04-944 WARSZAWA
                           POLAND


                           CRYSTAL WARSAW SP. Z O.O.
                           WOLOSKA 12
                           02-675 WARSZAWA
                           POLAND


                           DPD POLSKA SPÓLKA Z OGRANICZON
                            ODPOWIEDZIALNOSCIA
                           MINERALNA 15, 02-274 WARSZAWA
                           POLAND


                           EUROCENTRE
                           WARSZAWSKA 44/1
                           15-077 BIALYSTOK
                           POLAND
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                       GLOBAL BRANDS GROUP
                       350 5TH AVENUE
                       10 FLOOR
                       NEW YORK, NY 10118


                       GLOBART MEDIA A. GOLEBICKI,
                       M. HORBA,T. LASKI SP.J.
                       CIOLKOWSKIEGO 88F
                       15-545 BIALYSTOK, POLAND


                       JUMP DESIGN GROUP
                       1400 BROADWAY
                       2ND FLOOR
                       NEW YORK, NY 10018


                       LAWYER PAWEL SZKIL
                       SIENKIEWICZA 7/95, 15-424
                       15-424 BIALYSTOK
                       POLAND


                       LSI SOFTWARE
                       PRZYBYSZEWSKIEGO 176/178
                       93-120 LóDZ
                       POLAND


                       MEGA-AMPER MATEUSZ TOMASZUK
                       GAJOWA 77/9
                       15-794 BIALYSTOK
                       POLAND


                       ORANGE POLSKA, S.A.
                       JEROZOLIMSKIE 160
                       02-326 WARSZAWA
                       POLAND


                       PKO LEASING
                       SMIGLEGO RYDZA 20
                       93-281 LODZ
                       POLAND


                       POLENERGIA DYSTRYBUCJA SP.Z O.
                       KRUCZA 24/26, 05-077 WARSZAWA
                       POLAND
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                       PROPOL SP Z.O.O.
                       UL WARSZAWSKA 27
                       16-070 CHOROSZCZ
                       POLAND


                       RELIABLE GROUP
                       JANA PAWLA II 61/212
                       01-031 WARSZAWA
                       POLAND


                       RENOMA GALLERY
                       SWIDNICKA 40,
                       50-024 WROCLAW
                       POLAND


                       RHAJDUCZENIA
                       BIALYSTOK
                       POLAND


                       RS KONCEPT RADOSLAW SAKOWSKI
                       CIOLKOWSKIEGO 2/3, BIALYSTOK
                       POLAND


                       SEKA SPÓLKA AKCYJNA, BIALYSTOK
                       SW. ROCHA 11, 15-879 BILYSTOK
                       POLAND


                       STARY BROWAR GALLERY
                       PÓLWIEJSKA 42, POZNAN
                       POLAND


                       USLUGI INFORMATYCZNE KONRAD
                       KRASZYN
                       SIEMIENSKIEGO 22/139,
                       35-234 RZESZÓW, POLAND


                       VEOLIA INDUSTRY POLSKA SP. Z O
                       ENERGETYCZNA 7A, 61-017 POZNAN
                       POLAND


                       WERONIKA BIELIK
                       ZEROMSKIEGO 1/423
                       01-887 WARSZAWA
                       POLAND
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      FAMP sp Z.O.O.                                                                                 Case No.
                                                                                  Debtor(s)                Chapter      11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for FAMP sp Z.O.O. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 15, 2018                                                    /s/ Raymond P. Raiche
 Date                                                                 Raymond P. Raiche
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for FAMP sp Z.O.O.
                                                                      Blustein, Shapiro, Rich, & Barone, LLP
                                                                      10 Matthews Street
                                                                      Goshen, NY 10924
                                                                      845-291-0011 Fax:845-291-0021
                                                                      rraiche@mid-hudsonlaw.com




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